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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MCR OIL TOOLS, LLC,                            §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §          Civil Action No. 3:17-cv-03510-M
                                               §
SPEX OFFSHORE, LTD., et al.,                   §
                                               §
       Defendants.                             §

                          MEMORANDUM OPINION AND ORDER

        Before the Court is the Motion to Remand (ECF No. 10), filed by Plaintiff MCR Oil

Tools, LLC (“MCR”). After consideration, the Motion is GRANTED IN PART and DENIED

IN PART.

I.      BACKGROUND

        This action concerns a dispute involving an alleged breach of contract and misuse of

MCR’s intellectual property. MCR invents, develops, manufactures, and sells oilfield tools,

products, and equipment. (Original Petition, ECF No. 1-1, at ¶ 1). These tools include thermite-

based tools, including a pipe cutter and a torch fueled by a solid combustible charge. (Id.).

MCR’s tools are protected through patents, trade secrets, confidential and proprietary

information, and license agreements (collectively, the “Licensed Technology.”). (Id.).

        Beginning in 2009, Defendant SPEX Offshore, Ltd. (“SPEX”) entered into multiple

technology licenses with MCR. (Id. at ¶ 2). MCR alleges that SPEX recently breached

numerous provisions of the 2014 License Agreement (including a 2015 Extension),

misappropriated MCR’s Licensed Technology, and used MCR’s stolen technology to obtain

numerous patents in SPEX’s own name. (Id. at ¶ 4).




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         On December 27, 2017, MCR filed this lawsuit in the 95th Judicial District Court of

Dallas County, Texas, and asserted causes of action against Defendants for breach of contract,

declaratory judgment, violations of the Texas Uniform Trade Secrets Act, common law

misappropriation, unfair competition under Texas law, common law fraud, fraudulent

inducement, and conspiracy. (Id. at ¶¶ 38-67). MCR also requested a temporary restraining

order, temporary injunction, and permanent injunction to enjoin SPEX’s further use of the

Licensed Technology. (Id. at ¶¶ 68-74). To clarify that none of the claims seeks relief under

federal patent law, the Original Petition states: “Nothing herein is presented to the Court which

seeks a determination of the validity of a patent or calls for the application of U.S. Federal

Law. . . .” (Id. at ¶ 76).

         On December 28, 2017, Defendants removed the state court action to this Court, arguing

that “[t]his case concerns a federal question involving patents.” (Notice of Removal, ECF No. 1,

at 2 ¶3). On January 4, 2018, SPEX Group US LLC (“SPEX Group”)—but not the other two

Defendants—filed an answer and asserted affirmative defenses. (ECF No. 4). SPEX Group also

alleged two counterclaims under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, et

seq., for a declaration of non-violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836, et

seq., and a declaration of non-infringement of MCR’s patents. (ECF No. 4 at ¶¶ 12-18).

         On January 5, 2018, the Court, on its own accord, set a hearing on whether federal

question jurisdiction exists in this case. (ECF No. 5). MCR and SPEX Group submitted briefing

and appeared for an oral argument on February 13, 2018.

II.      LEGAL STANDARD

         A defendant may remove a state court action to federal court if the case originally could

have been filed in federal court. 28 U.S.C. § 1441(a). The removing party bears the burden of




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establishing the federal court’s jurisdiction. Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th

Cir. 2001).

          A federal district court has subject matter jurisdiction over a civil action that “arises

under the Constitution, law, or treaties of the United States.” 28 U.S.C. § 1331. To evaluate

whether a federal question exists, the court examines the well-pleaded complaint as it existed at

the time of removal. Merrell Dow Pharms. v. Thompson, 478 U.S. 804, 808 (1986); Allen v.

Bank of Am., N.A., 5 F. Supp. 3d 819, 829 (N.D. Tex. 2014). The basis for jurisdiction must be

found in the allegations supporting the plaintiff’s claim. Carpenter v. Wichita Falls Indep. Sch.

Dist., 44 F.3d 362, 366 (5th Cir. 1995). Federal jurisdiction cannot rest on the defendant’s

answer or petition for removal. See Stump v. Potts, 322 F. App’x 379, 380 (5th Cir. 2009) (citing

MSOF Corp. v. Exxon Corp., 295 F.3d 485, 490 (5th Cir. 2002)). Nor does it suffice if the

defendant’s counterclaim raises the federal question. Vaden v. Discover Bank, 556 U.S. 49, 60

(2009).

          Federal question jurisdiction does not exist merely because federal law may be

tangentially involved. Merrell Dow, 478 U.S. at 813. The federal law must create the plaintiff’s

cause of action, or the plaintiff’s claim must necessarily depend on a substantial federal law

question. Borden v. Allstate Ins. Co., 589 F.3d 168, 172 (5th Cir. 2009); see Am. Tel. & Tel. Co.

v. Integrated Network Corp., 972 F.2d 1321, 1324 (Fed. Cir. 1992) (“[E]very theory of a claim

as pled must depend on patent law if there is to be federal jurisdiction.”).

III.      ANALYSIS

          A.     Federal question jurisdiction

          SPEX Group contends that several of MCR’s claims are artfully disguised but are

actually claims for patent infringement. (See ECF No. 13, at ¶¶ 8-16). The Court disagrees.




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       MCR’s claim for declaratory relief does not invoke federal law. MCR only seeks a

declaration of ownership regarding “products, engineering, drawings, trade secrets, confidential

information, and any other information [related to technological tools] invented, developed,

modified, or improved by or on behalf of SPEX.” (Original Petition, ECF No. 1-1, at ¶ 44).

This language does not mention MCR’s patents. Instead, it focuses on SPEX’s alleged

misappropriation of certain tangible materials and confidential information. MCR’s claim for

declaratory relief therefore does not arise under patent law.

       MCR’s unfair competition claim is not a patent infringement claim. On superficial

review, the Original Petition’s allegations regarding the “unauthorized use of MCR’s intellectual

property” might suggest a patent claim. (See Original Petition, ECF No. 1-1, at ¶ 57). But the

term “intellectual property” is not limited to patented inventions; it also includes copyrights,

trademarks, and trade secrets. See TianRui Grp. Co. v. Int’l Trade Comm’n, 661 F.3d 1322,

1336 (Fed. Cir. 2011); see also Am. Tel. & Tel. Co., 972 F.2d at 1324 (the term “inventions

conceived” is not limited to patented inventions). MCR’s disclaimer that it does not pursue any

claims or rights arising under federal patent law also counsels against reading the term

“intellectual property” to mean patented inventions. (Original Petition, ECF No. 1-1, at ¶ 76).

MCR could have broadened its allegations to identify a claim against Defendants for patent

infringement, but, as master of its own pleadings, it elected not to assert a patent claim. MCR is

entitled to limit its pleadings in this manner. See Casey v. Rainbow Grp., Ltd., 109 F.3d 765 (5th

Cir. 1997) (plaintiff is “free to proceed in state court and ignore claims that could have been

asserted under federal law”); cf. Arnold v. City of Balch Springs, Tex., No. CIV.A. 3:04-CV-

2422M, 2005 WL 176169, at *3 (N.D. Tex. Jan. 25, 2005) (“A plaintiff may preclude federal

subject matter jurisdiction by electing in her petition to rely exclusively on state law.”).




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         Likewise, federal patent law does not apply to MCR’s conspiracy claim against

Defendants. MCR alleges that Defendants’ putative conspiracy was unlawful only because

Defendants conspired to misappropriate “MCR’s trade secrets and confidential information.”

(Original Petition, ECF No. 1-1, at ¶ 63). While MCR also alleges that Defendants accessed or

used MCR’s “Licensed Patents” to facilitate their unlawful actions, these allegations merely give

context to its claims for trade secret misappropriation. These allegations do not set forth an

artfully pleaded claim for patent infringement or otherwise attempt to invoke federal patent law

jurisdiction. See Uroplasty, Inc. v. Advanced Uroscience, Inc., 239 F.3d 1277, 1280 (Fed. Cir.

2001).

         MCR’s breach of contract claim does not arise under federal patent law. The Court is not

persuaded otherwise by Robertson v. Baker Oil Tools, Inc., No. 3:02-CV-372-AH, 2002 WL

1124903, at *5 (N.D. Tex. May 23, 2002). In Robertson, another judge on this court initially

found that a plaintiff’s references to patent infringement meant the plaintiff’s breach of contract

claim was premised on a substantial patent law question. Unlike this case, the plaintiffs in

Robertson first alleged “infringe[ment]” of the technology at issue, Id. at *3 n.8, and sought

patent damages in the form of “lost profits, lost royalties, and lost sales of the technology at

issue.” Id. at *1. Here, MCR’s Original Petition does not include any allegations of patent

infringement, nor does it seek a reasonable royalty or other remedy arising exclusively under

patent law. MCR’s claimed remedies appear limited to state law damages and an injunction to

prevent Defendants from misusing the Licensed Technology. (Original Petition, ECF No. 1-1, at

¶ 71).

         Accordingly, the Court finds that Plaintiff’s claims, as set forth in the Original Petition,

do not raise a substantial federal question that gives rise to subject matter jurisdiction in this

case.



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       B.      Request for attorney’s fees and costs

       MCR seeks attorney’s fees, costs, and expenses under 28 U.S.C. § 1447(c), which

provides that “orders remanding the case may require payment of just costs and any actual

expenses, including attorney fees, incurred as a result of the removal.” Courts may award

attorney’s fees and costs under this provision only when “the removing party lacked an

objectively reasonable basis for seeking removal.” Martin v. Franklin Capital Corp., 546 U.S.

132, 141 (2005). Here, Defendants reasonably could have believed this lawsuit involved federal

questions arising under patent law because MCR attached multiple patents to the Original

Petition and contended Defendants’ use of MCR’s “intellectual property” was “unauthorized.”

(See Original Petition, ECF No. 1-1, at ¶ 57). In light of these facts, it was not unreasonable for

Defendants to argue that this case presented a substantial federal question giving rise to federal

jurisdiction. The Court therefore denies MCR’s request for attorney’s fees, costs, and expenses.

IV.    CONCLUSION

       Plaintiff’s Motion to Remand (ECF No. 10) is GRANTED IN PART and DENIED IN

PART. Because the Court finds that federal subject matter jurisdiction is lacking, this case is

REMANDED to the 95th Judicial District Court of Dallas County, Texas. The Court DENIES

MCR’s request for attorney’s fees, costs, and expenses, because Defendants’ arguments in

support of removal were not objectively unreasonable.

       SO ORDERED.

       February 16, 2018.



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                                                      BARBARA M. G. LYNN
                                                      CHIEF JUDGE




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